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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

MARIO RIVERO, Individually                      Case No.:
and on Behalf of All Others Similarly Situated,

                          Plaintiff,                 COMPLAINT AND JURY DEMAND
v.
                                                     PUTATIVE CLASS ACTION
NU IMAGE BODYSCULPTING LLC d/b/a
NU IMAGE MEDSPA, a New Jersey
corporation,

                          Defendant.
                                        INTRODUCTION

       1.      Plaintiff Mario Rivero (“Plaintiff”) brings this Class Action Complaint for

damages, injunctive relief, and any other available legal or equitable remedies, resulting from the

illegal actions of Defendant Nu Image Bodysculpting LLC d/b/a Nu Image Medspa

(“Defendant”), in negligently and/or willfully using an automatic telephone dialing system to call

Plaintiff on Plaintiff’s cellular telephone, without Plaintiff’s express consent, in violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq., (“TCPA”), thereby invading

Plaintiff’s privacy. Plaintiff alleges the following upon personal knowledge as to himself and his

own acts and experiences, and, as to all other matters, upon information and belief, including

investigation conducted by his attorneys.




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       2.      The TCPA was designed to prevent calls and text messages like the ones described

herein, and to protect the privacy of citizens like Plaintiff. “Voluminous consumer complaints

about abuses of telephone technology – for example, computerized calls dispatched to private

homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct.

740, 744 (2012).

       3.      In enacting the TCPA, Congress intended to give consumers a choice as to how

corporate and similar entities may contact them, and made specific findings that “[t]echnologies

that might allow consumers to avoid receiving such calls are not universally available, are costly,

are unlikely to be enforced, or place an inordinate burden on the consumer.” TCPA, Pub. L. No.

102–243, § 11. In support of this, Congress found that:

            Banning such automated or prerecorded telephone calls to the home, except
            when the receiving party consents to receiving the call or when such calls
            are necessary in an emergency situation affecting the health and safety of
            the consumer, is the only effective means of protecting telephone consumers
            from this nuisance and privacy invasion.

Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838, at *4

(N.D. Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).

       4.      Congress also specifically found that “the evidence presented to the Congress

indicates that automated or prerecorded calls are a nuisance and an invasion of privacy, regardless

of the type of call….” Id. at §§ 12-13.

       5.      The TCPA also expressly applies to unsolicited faxes as well as other forms of

media such as text messages.

       6.      Congress recognized that not only can unsolicited calls, faxes, and text messages

be a nuisance, but also may cause the receiver of the unsolicited communications to incur actual

out-of-pocket losses, such as for the use of paper and toner for unsolicited faxes.




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       7.       With the advancement of technology, numerous courts have recognized the

TCPA’s applicability to unsolicited text messages to persons’ cellular telephones.

       8.       Persons, like Plaintiff herein, have no control to stop unsolicited and unwanted text

messages to their cell phones.

       9.       Every transmission of a text message uses data, and the longer the text is, the more

data is used.

       10.      Once an unsolicited text message is received, not only is it a nuisance to the

receiver, but as importantly, that receiver is forced to incur unwanted message and/or data charges

from their cell phone carrier.

       11.      As set forth herein, that is exactly what occurred to Plaintiff and other members of

the putative class.

       12.      Plaintiff and the members of the proposed class received unsolicited sales text

messages from Defendant, and consequently incurred additional message and/or data charges to

their cell phone accounts, all because Defendant wished to advertise and market its products and

services for its own benefit.

                                 JURISDICTION AND VENUE

       13.      This Court has federal question jurisdiction because this case arises out of

violations of federal law.

       14.      Venue is proper in the United States District Court for the District of New Jersey

pursuant to 18 U.S.C. § 1391(b) and 1441(a) because Defendant is subject to personal jurisdiction

in Bergen County, New Jersey, because Defendant sent the unlawful text messages at issue herein

from Bergen County, New Jersey, and because Plaintiff received the unlawful text message in

Monmouth County, New Jersey.




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                                            PARTIES


         15.   Plaintiff is, and at all times mentioned herein was, a citizen and resident of the

State of New Jersey. Plaintiff is, and at all times mentioned herein was, a “person” as defined by

47 U.S.C. § 153 (39).

         16.   Defendant is a Limited Liability Company which operates as a medical spa in

Bergen County, New Jersey however, Defendant markets its goods and services throughout the

state.

         17.   Defendant, at all times during the relevant class period, participated in, endorsed,

implemented, and performed the conduct alleged herein, specifically including the transmittal of

the unlawful text messages that are the subject of this action.

                                             FACTS

         19.   Defendant owns and operates a medical spa in Bergen County, New Jersey.

         20.   To remain competitive and increase sales of its goods and services, Defendant has

resorted to unlawful telemarketing campaigns to the detriment of unsuspecting consumers like

Plaintiff.

         21.   Specifically, on May 2, 2018 and May 16, 2018, Defendant or its agents, used an

automated text messaging platform to transmit the following marketing text messages to

Plaintiff’s cellular telephone ending in 7663 (“7663 Number”):




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       22.       Plaintiff is the subscriber and sole user of the 7663 Number.

       23.       At no point in time did Plaintiff provide Defendant with his express consent to be

contacted by text message on his cellular phone using an automatic telephone dialing system.

       24.       Defendant was required to obtain Plaintiff’s “prior express consent,” as defined

under the TCPA, before transmitting the text messages.

       25.       Under the TCPA, “prior express consent” is defined as:

             an agreement, in writing, bearing the signature of the person called that clearly
             authorizes the seller to deliver or cause to be delivered to the person called
             advertisements or telemarketing messages using an automatic telephone
             dialing system or an artificial or prerecorded voice, and the telephone number
             to which the signatory authorizes such advertisement or telemarketing
             messages to be delivered.

             47 C.F.R. § 64.1200(f)(8).

       26.       Plaintiff further alleges that Defendant, or its agent, sent the above text not only to

Plaintiff, but also to numerous other individuals, on their cellular telephones, without obtaining

their prior express written consent.

       27.       The texts were sent to Plaintiff and the putative class for general marketing

purposes, for the commercial benefit of Defendant, and specifically to solicit customers for

Defendant’s medical spa business.

       28.       Specifically, the text messages attempt to market Plaintiff the following goods

and/or services which Defendant sells: laser hair removal, Botox, CoolSculpting, Vampire

Facials, and Facial Rejuvenation.

       29.       The text messages also offer Plaintiff 25% off his first treatment and a free laser

hair removal treatment when Plaintiff shows the text message to Defendant.




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       30.   The text messages also provide a hyperlink to Defendant’s webpage at

https://nuimagenj.com/. Defendant’s webpage markets additional goods and services. Copies of

the Defendant’s webpage is provided below:




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        NuImage, https://nuimagenj.com/ (last visited June 4, 2018).


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       31.       The text messages also provide Plaintiff with the phone number of (201)-712-0222

as a means to contact Defendant. Upon information and belief this number is owned and/or

operated by Defendant.

       32.       The texts were not sent to Plaintiff and the putative class for emergency purposes

as defined by 47 U.S.C. § 227 (b)(1)(A)(i).

       33.       It is a violation of the TCPA to make “any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using any

automatic telephone dialing system … to any telephone number assigned to a … cellular

telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

       34.       The TCPA defines an “automatic telephone dialing system” (hereinafter “ATDS”)

as “equipment which has the capacity – (A) to store or produce telephone numbers to be called,

using a random or sequential number generator; and (B) to dial such numbers.” Id. at § 227(a)(1).

       35.       Defendant – or third parties directed by Defendant– used an ATDS to send Plaintiff

text messages.

       36.       Specifically, upon information and belief, Defendant utilized a combination of

hardware and software systems to send the text messages at issue in this case. The system utilized

by Defendant has the capacity to store numbers using a random or sequential generator, and to

dial such numbers, and/or to dial such numbers from a list in an automated fashion, without

human interference.

       37.       The impersonal and generic nature of Defendant’s text messages establish that

Defendant utilized an ATDS to transmit the messages.

       38.       Specifically, the text messages fail to state the name of their intended recipient or

provide any other specific information which would establish that the text messages were drafted




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with a specific recipient in mind. Instead the text messages are drafted to be sent to multiple

parties with no alteration.

       39.     Another indicator of Defendant’s use of an ATDS is Defendant’s utilization of a

short-code (555-999) to send the text messages.

       40.     As outlined herein, the unsolicited commercial texts sent by Defendant or its agents

to Plaintiff and the putative class violated 47 U.S.C. § 227(b)(1).

                              CLASS ACTION ALLEGATIONS

       46.     Plaintiff brings this action under Fed. R. Civ. P. 23 on behalf of a proposed class

defined as:

        All persons in the United States who, within the four years prior to the filing of this
        Complaint, were sent a text message using the same type of equipment used to text
        message Plaintiff, from Defendant or anyone on Defendant’s behalf, to said persons
        cellular telephone number

       47.     The class for whose benefit this action is brought is so numerous that joinder of all

members is impracticable.

       48.     The exact number and identities of the persons who fit within the proposed class

are ascertainable, in that Defendant maintains written and electronically-stored records of all texts

that were sent, the dates they were sent, and the telephone numbers to which they were sent.

       49.     The proposed class is composed of over 1,000 persons.

       50.     The claims in this action arise exclusively from Defendant’s uniform policies as

alleged herein, from uniformly-worded texts sent by Defendant or its agents via an “automatic

telephone dialing system.”

       51.     No violations alleged are a result of any oral communications or individualized

interaction between any class member and Defendant.




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       52.      There are common questions of law and fact affecting the rights of the class

members, including, inter alia, the following:

             a) Whether Defendant or its agents sent text messages to the cellular telephones of
                Plaintiff and the class;

             b) Whether the Defendant obtained express written consent from Plaintiff and the
                class before sending such text messages;

             c) Whether Defendant’s uniform policies and common course of conduct, as alleged
                herein, violated the TCPA;

             d) Whether Plaintiff and the class are entitled to damages arising from Defendant’s
                conduct alleged herein; and

             e) Whether Plaintiff and the class are entitled to an order for injunctive and
                declaratory relief, enjoining Defendant from carrying on the policies alleged
                herein.

       53.      Plaintiff is a member of the class he seeks to represent.

       54.      The claims of Plaintiff are not only typical of all class members, they are identical

in that they arise from Defendant’s uniform policies and form texts and are based on the same

legal theories of all class members.

       55.      Plaintiff has no interest antagonistic to, or in conflict with, the class.

       56.      Plaintiff will thoroughly and adequately protect the interests of the class, having

retained qualified and competent legal counsel to represent himself and the class.

       57.      Defendant has acted and refused to act on grounds generally applicable to the class,

thereby making appropriate injunctive and declaratory relief for the class as a whole.

       58.      The prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications.

       59.      A class action is superior to other available methods for the fair and efficient

adjudication of the controversy since, inter alia, the damages suffered by each class member were



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less than $500 per person and individual actions to recoup such an amount are not economically

feasible.

          60.     Common questions will predominate, and there will be no unusual manageability

issues.

                                                COUNT I

                NEGLIGENT VIOLATIONS OF THE TCPA, 47 U.S.C. § 227, et seq.

          63.     Plaintiff incorporates by reference all of the above paragraphs of his Complaint as

though fully stated herein.

          64.     The foregoing acts and omissions of Defendant constitutes numerous and multiple

negligent violations of the TCPA, including but not limited to each and every one of the above

cited provisions of 47 U.S.C. § 227, et seq.

          65.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227, et seq., Plaintiff

and the class are entitled to an award of $500.00 in statutory damages, for each and every

violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

          66.     Plaintiff and the class are also entitled to and seek injunctive relief prohibiting such

conduct in the future.



                                               COUNT II

                          KNOWING AND/OR WILLFUL VIOLATIONS
                             OF THE TCPA, 47 U.S.C. § 227, et seq.

          67.     Plaintiff incorporates by reference all of the above paragraphs of his Complaint as

though fully stated herein.




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          68.      The foregoing acts and omissions of Defendant constitutes numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each and every one

of the above-cited provisions of 47 U.S.C. § 227, et seq.

          69.      As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227,

et seq., Plaintiff and the class are entitled to an award of $1,500.00 in statutory damages, for each

and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

          70.      Plaintiff and the class are also entitled to and seek injunctive relief prohibiting such

conduct in the future.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff and members of the class respectfully pray for the following

relief:

                A. Certification of the class under Fed. R. Civ. P. 23;

                B. On the First Count, as a result of Defendant’s negligent violations of 47 U.S.C. §

                   227(b)(2)(D), Plaintiff and each member of the Class is entitled to and requests

                   five hundred dollars ($500.00) in statutory damages, for each and every violation,

                   pursuant to 47 U.S.C. § 227(b)(3)(B);

                C. On the Second Count, as a result of Defendant’s willful and/or knowing violations

                   of 47 U.S.C. § 227(b)(2)(D), Plaintiff and each member of the Class is entitled to

                   and requests treble damages, as provided by statute, up to one thousand five

                   hundred dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. §

                   227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);

                D. An Order, pursuant to 47 U.S.C. § 227(b)(3)(A), enjoining Defendant from

                   violating 47 U.S.C. § 227(b)(2)(D);

                E. Attorney’s fees and costs; and


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           F. Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff, on behalf of

himself and all others similarly situated, demands a trial by jury on all questions of fact raised by

the Complaint.

Dated: June 4, 2018


                                               DeNITTIS OSEFCHEN PRINCE, P.C.


                                               By:    /s/ Ross H. Schmierer
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                       CERTIFICATION PURSUANT TO L. CIV. R. 11.2

       I certify that, to the best of my knowledge, this matter is not the subject of any other action

pending in any court or of any pending arbitration or administrative proceeding.

Dated: June 4, 2018                           DeNITTIS OSEFCHEN PRINCE, P.C.



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